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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

WOODHULL FREEDOM FOUNDATION,                              )
HUMAN RIGHTS WATCH, ERIC KOSZYK,                          )
JESSE MALEY, a/k/a ALEX ANDREWS, and                      )
THE INTERNET ARCHIVE,                                     )
                                                          )     Case No. 1:18-cv-1552
                   Plaintiffs,                            )
                                                          )
       v.                                                 )
                                                          )
THE UNITED STATES OF AMERICA                              )
and JEFFERSON B. SESSIONS, in his                         )
official capacity as ATTORNEY GENERAL                     )
OF THE UNITED STATES,                                     )
                                                          )
                   Defendants.                            )


            MOTION TO EXCLUDE PLAINTIFFS FROM LOCAL RULE 7(m)

       Plaintiffs have this day filed a Complaint for Declaratory and Injunctive Relief and a

Motion for Preliminary Injunction challenging the constitutionality of the Allow States and

Victims to Fight Online Sex Trafficking Act of 2017, Pub. L. No. 115-164, 132 Stat. 1253

(2018) (“FOSTA” or “the Act”). Pursuant to Local Rule 7(m), prior to filing any nondispositive

motion in a civil action, counsel for Plaintiffs are required to discuss the anticipated motion with

opposing counsel to determine whether there is any opposition to the relief sought, and to include

in the motion a statement that the required discussion took place and whether the motion is

opposed. Because the motion for preliminary injunction is being filed simultaneously with the

Complaint commencing this action, there has been no opportunity for an attorney at the Depart-

ment of Justice to file a notice of appearance on behalf of the government.

       Accordingly, Plaintiffs request that the Motion for Preliminary Injunction be excluded

from the duty to confer set forth in Rule 7(m). Given that the Motion for Preliminary Injunction
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seeks to forestall enforcement of FOSTA entirely during the pendency of this action, it is highly

likely the government opposes the motion. The Motion for Preliminary Injunction will be served

concurrently with service of the Complaint such that Defendants will have full, timely notice of

the motion’s filing. Neither any party nor the Court’s procedures would thus be harmed by

forgoing the conferral requirement on this occasion.

       A proposed order granting Plaintiffs’ requested exclusion is attached hereto.


DATED: June 28, 2018


                                                       Respectfully submitted,


                                                         /s/ Robert Corn-Revere
                                                       ROBERT CORN-REVERE
                                                       D.C. Bar No. 375415
                                                       RONALD G. LONDON
                                                       D.C. Bar No. 456284
                                                       Davis Wright Tremaine LLP
                                                       1919 Pennsylvania Ave. NW, Suite 800
                                                       Washington, D.C. 20006
                                                       Telephone: (202) 973-4200
                                                       Facsimile: (202) 973-4499
                                                       Email: bobcornrevere@dwt.com
                                                              ronnielondon@dwt.com


                                                       LAWRENCE G. WALTERS
                                                       Florida Bar No.: 0776599
                                                       Pro Hac Vice Admission Pending
                                                       Walters Law Group
                                                       195 W. Pine Ave.
                                                       Longwood, FL 32750-4104
                                                       Telephone: (407) 975-9150
                                                       Facsimile: (408) 774-6151
                                                       Email: Larry@FirstAmendment.com
                                                              Paralegal@FirstAmendment.com




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                                 AARON MACKEY
                                 D.C. Bar No. 1017004
                                 DAVID GREENE
                                 (admitted in California)
                                 Pro Hac Vice Admission Pending
                                 CORYNNE MCSHERRY
                                 (admitted in California)
                                 Electronic Frontier Foundation
                                 815 Eddy Street
                                 San Francisco, CA 94109
                                 (415) 436-9333
                                 Email: amackey@eff.org
                                         davidg@eff.org


                                 DAPHNE KELLER
                                 Cal. Bar No. 226614
                                 Stanford Law School Center
                                  for Internet and Society
                                 559 Nathan Abbott Way
                                 Stanford, CA 94305-8610
                                 (650) 723-1417
                                 Email: daphnek@law.stanford.edu

                                 Attorneys for Plaintiffs




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